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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF INDIANA
                              HAMMOND DIVISION


 UNITED STATES OF AMERICA,                      )
                                                )
 Plaintiff/Respondent,                          )
                                                )
 vs.                                            )      NO. 2:09-cr-43
                                                )          2:13-cv-396
                                                )
 JUSTIN PHILLIP CEPHUS,                         )
                                                )
 Defendant/Petitioner.                          )

                                 OPINION AND ORDER
       This    matter       is   before   the       Court    on     the    “Motion     for

 Appealability and Reconsideration,” filed by Petitioner, Justin

 Cephus,      on    March    10,   2015   (DE       #615).          The    request     for

 reconsideration is DENIED FOR LACK OF JURISDICTION.                         The request

 for appealability, or to file a notice of appeal, is also DENIED.



 BACKGROUND

       On February 4, 2015, this Court entered an opinion and order

 denying Cephus’ motion under 18 U.S.C. § 2255, denying several

 related motions, denying his request for an evidentiary hearing,

 and declining to issue a certificate of appealability.                       (DE #608.)

 In the current motion “for appealability and reconsideration,”

 Cephus briefly rehashes many arguments he made in the voluminous

 briefing of his section 2555 and related motions.
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 DISCUSSION

       When a motion is brought requesting reconsideration of a final

 judgment, a court must first determine whether it has jurisdiction

 to entertain the motion. Under certain circumstances, a motion for

 reconsideration motion must be treated as a successive habeas

 petition.     See Dunlap v. Litscher, 301 F.3d 873, 875-76 (7th Cir.

 2002); Harris v. Cotton, 296 F.3d 578, 579-80 (7th Cir. 2002)

 (citations omitted) (“Prisoners are not allowed to avoid the

 restrictions that Congress has placed on collateral attacks on

 their convictions . . . by styling their collateral attacks as

 motions for reconsideration under Rule 60(b).”)                If a motion for

 reconsideration is in effect a second or successive petition, a

 district court lacks jurisdiction to consider it unless the court

 of appeals has granted the petitioner permission to file such a

 petition.    See 28 U.S.C. § 2255(h); 28 U.S.C. § 2244; Dunlap, 301

 F.3d at 875 (noting that 28 U.S.C. section 2255, paragraph 8, is

 “clear and bar[s] a district court from using Rule 60(b) to give a

 prisoner broader relief from a judgment rendered by the court in

 the prisoner’s [2255] proceeding.”).               The Seventh Circuit has

 explained the Supreme Court’s position on such motions as follows:

              Gonzalez [v. Crosby, 545 U.S. 524 (2005)]
              holds that a motion under Fed.R.Civ.P. 60(b)
              must be treated as a collateral attack when
              the prisoner makes a ‘claim’ within the scope
              of § 2244(b).       This means, the Court
              concluded, that a procedural argument (say,

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              one about the statute of limitations) raised
              using Rule 60(b) is not a new collateral
              attack, but that an objection to the validity
              of the criminal conviction or sentence is one
              no matter how it is couched or captioned. See
              also, e.g., Melton v. United States, 359 F.3d
              855 (7th Cir. 2004); United States v. Evans,
              224 F.3d 670 (7th Cir. 2000). The reasoning
              of Gonzalez does not depend on which rule the
              prisoner   invokes;   its   approach   is  as
              applicable to post-judgment motions under
              Fed.R.Crim.P. 6(e) as it is to motions under
              Rule 60(b).

 U.S. v. Scott, 414 F.3d 815, 816 (7th Cir. 2005).

       In this case, Cephus does not argue that there were any

 procedural defects in the proceedings related to the Court’s

 decision to deny relief under section 2255. Rather, his motion for

 reconsideration simply lists arguments he previously made.                            As

 such, Cephus’ motion is a successive claim for relief under section

 2255, for which he must obtain leave to file from the Seventh

 Circuit Court of Appeals.        28 U.S.C. § 2255(h).                This Court lacks

 jurisdiction to hear Stewart’s motion for reconsideration, and it

 must be DISMISSED.

       This   Court   has     already   denied       Cephus       a    certificate     of

 appealability.         (DE    #608,    pp.     29-30.)       A       certificate      of

 appealability    may   only    issue   if     the    petitioner         “has   made   a

 substantial showing of the denial of a constitutional right.”                         28

 U.S.C. § 2253(c)(2).          Because this motion is an unauthorized

 successive collateral attack, this Court cannot treat it as a

 notice of appeal, and cannot issue a certificate of appealability.


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 See Sveum v. Smith, 403 F.3d 447 (7th Cir. 2005).



 CONCLUSION

       For    the   reasons   set   forth      below,      in     the    “Motion     for

 Appealability and Reconsideration,” filed by Petitioner, Justin

 Cephus (DE #615), the request for reconsideration is DENIED FOR

 LACK OF JURISDICTION and the request for appealability, or to file

 a notice of appeal, is also DENIED.




 DATED:       April 8, 2015                   /s/ RUDY LOZANO, Judge
                                              United States District Court




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